      Case: 4:22-cv-00917-RLW Doc. #: 1 Filed: 09/01/22 Page: 1 of 4 PageID #: 1




                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

LULABELLE GARRETT,                               )
                                                 )
         Plaintiff,                              )
                                                 )       Case No.
vs.                                              )
                                                 )
ERIC PAUL SMITH, and                             )
STEVE MODE TRUCKING, INC.,                       )       JURY TRIAL DEMANDED
                                                 )
         Defendants.                             )

                                      NOTICE OF REMOVAL

         COME NOW Defendants, Eric Paul Smith and Steve Mode Trucking, Inc., by and through

their attorneys, Roberts Perryman, P.C., and hereby files their Notice of Removal stating the

following:

                                          INTRODUCTION

         1.      A civil action has been commenced and is now pending in the Circuit Court of St.

Louis County, State of Missouri, Case No. 22SL-CC03497, wherein Lulabelle Garrett is the

Plaintiff and Eric Paul Smith, and Steve Mode Trucking, Inc., are the Defendants.

         2.      This action is a civil action wherein Plaintiff has made claims for damages as a

result of Defendants’ alleged negligence in connection with a tractor trailer motor vehicle accident

that occurred on July 15, 2019.

         3.      Plaintiff, Lulabelle Garrett, was and is a citizen of Illinois.

         4.      Defendant, Eric Paul Smith, was and is a citizen of Arkansas.

         5.      Defendant, Steve Mode Trucking, Inc., was an Arkansas corporation with its

principal place of business in Arkansas.
   Case: 4:22-cv-00917-RLW Doc. #: 1 Filed: 09/01/22 Page: 2 of 4 PageID #: 2




                              DIVERSITY OF CITIZENSHIP EXISTS

       6.         This action is a civil action, of which the United States District Courts have original

jurisdiction pursuant to 28 U.S.C. § 1332 and is one which may be removed to this Court by the

Defendant pursuant to 28 U.S.C. § 1441, and this is a civil action proceeding involving diversity

of citizenship.

       7.         Plaintiff, Lulabelle Garrett, was and is a citizen of Illinois.

       8.         Defendant, Eric Paul Smith, was and is a citizen of Arkansas.

       9.         Defendant, Steve Mode Trucking, Inc., was an Arkansas corporation with its

principal place of business in Arkansas.

                  THE AMOUNT IN CONTROVERSY HAS BEEN SATISFIED

       10.        The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

Plaintiff, Lulabelle Garrett, is claiming serious internal and external injuries to her neck, back,

shoulders, arms, and suffers from depression. Plaintiff, Lulabelle Garrett, has already undergone a

three-level anterior cervical disc replacement surgery with alleged medical bills in excess of

$150,000. Plaintiff is claiming she has or will continue to endure medical expenses, future medical

expenses and treatment, and pain and suffering. Plaintiff, Lulabelle Garrett, has not agreed to

stipulate that her damages are less than $75,000.00.

                                NOTICE OF REMOVAL IS TIMELY

       11.        Less than thirty (30) days have elapsed since receipt of said initial pleadings by

Defendants, Eric Paul Smith and Steve Mode Trucking, Inc.

       12.        Defendants, Eric Paul Smith and Steve Mode Trucking, Inc. filed herewith a copy

of all process, pleadings, and order he has in this action. See Exhibit A.




                                                Page 2 of 4
   Case: 4:22-cv-00917-RLW Doc. #: 1 Filed: 09/01/22 Page: 3 of 4 PageID #: 3




       WHEREFORE, Defendants Eric Paul Smith and Steve Mode Trucking, Inc., by and

through counsel, pray the Court to accept their Notice for Removal, make and enter such orders as

may be necessary to affect the complete removal of this action from the Circuit Court of St. Louis

County, State of Missouri, to the United States District Court for the Eastern District of Missouri,

and that further proceedings be discontinued in State Court and all future proceedings be held in

this Court, as the laws in such case provide.


                                                Respectfully submitted,

                                                ROBERTS PERRYMAN, P.C.


                                                /s/ Ted L. Perryman
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                                            Page 3 of 4
   Case: 4:22-cv-00917-RLW Doc. #: 1 Filed: 09/01/22 Page: 4 of 4 PageID #: 4




                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been filed upon the Court’s
electronic filing system this 1st day of September 2022 to:

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                                          /s/ Ted L. Perryman




                                        Page 4 of 4
